Case 1:21-cr-00291-ABJ Document 84-2 Filed 10/18/21 Page 1 of 9

PP 4210.2
Attachment J
Inmate Institutional Work Program

 

DC DEPARTMENT OF CORRECTIONS
WORK PERFORMANCE RATING - INMATE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Inmate's Name “7~MadzH#d ot bicle DCDC # Date “bycy Ll, L/
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Evaluation Period (Month/Year) Squad Position/Grade
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1. Quality of Work
Excellent Does superior work. Does more work than is expected or required.
Satisfactory _ Makes fewer mistakes than most workers at this level of training/work.
Good Acceptable level of work. Produces average volume of work.
Fair Often makes mistakes; often completes less work than others of same skill level.
Unsatisfactory Repeatedly makes errors, shows little interest in producing better quality, low output.
2. Quantity of Work
Excellent Superior work and exceeds expected productivity.
Good Motivated to work; does full days work, wastes little time.
Satisfactory Works steadily but does not push to exceed.
Fair Does just enough to get by, has to be encouraged to do more.
Unsatisfactory Very low output, must be prompted to complete work.
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| Excellent Good ideas to improve work, does work to improve skills, works with positive attitude.
Good Adapts well to change, works to improve skills, works with above average interest.
Satisfactory Starts work without being told, generally works with a positive attitude.
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4. Dependability, Safety, Care of Equipment
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5. Response to Supervision
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Raise this inmate’s pay but keep individual at same job
Continue to employ this inmate but would not recommend for promotion or pay raise
Transfer this inmate to a less demanding job at a lower rate of pay
Terminate inmate’s employment
Supervisor's Signature Date
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Inmate’s Signature Date
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Inmate’s Response

 

 

 

 

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Case 1:21-cr-00291-ABJ Document 84-2 Filed 10/18/21 Page 2 of 9
PP 4210.2
Attachment J
Inmate Institutional Work Program

 

DC DEPARTMENT OF CORRECTIONS
WORK PERFORMANCE RATING — INMATE

 

 

 

 

 

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Evaluation Period (Month/Year) Squad Position/Grade x!
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1. Quality of Work

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Terminate inmate’s employment

 

 

Supervisor’s Signature Date

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Inmate’s Response

 

 

 

 

 

 

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Case 1:21-cr-00291-ABJ Document 84-2 Filed 10/18/21 Page 3 of 9
PP 4210.2
Attachment J
Inmate Institutional Work Program

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Inmate’s Response

 

 

 

 

 

 

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Attachment J
Inmate Institutional Work Program

 

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Case 1:21-cr-00291-ABJ Document 84-2 Filed 10/18/21 Page 5of9

PP 4210.2
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Inmate Institutional Work Program

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WORK PERFORMANCE RATING - INMATE

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Case 1:21-cr-00291-ABJ Document 84-2 Filed 10/18/21 Page 6 of 9

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Inmate Institutional Work Program

DC DEPARTMENT OF CORRECTIONS
WORK PERFORMANCE RATING — INMATE

 

 

 

 

 

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1. Quality of Work

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Terminate inmate’s employment

 

 

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Inmate’s Response

 

 

 

 

 

 

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Case 1:21-cr-00291-ABJ Document 84-2 Filed 10/18/21 Page 7 of 9

PP 4210.2
Attachment J
Inmate Institutional Work Program

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WORK PERFORMANCE RATING - INMATE

Inmate’s Name DCDC # D
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Inmate’s Response

     

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Case 1:21-cr-00291-ABJ Document 84-2 Filed 10/18/21 Page 8 of 9

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Attachment J
Inmate Institutional Work Program

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Inmate's Name DCDC # Date
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ser Period (Month/Ygar) Squad Position/Grade
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1. Quality of Work
X | Excellent Does superior work. Does more work than is expected or required.
Satisfactory Makes fewer mistakes than most workers at this level of training/work.
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Terminate inmate's employment
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Inmate’s Response

 

 

 

 

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Case 1:21-cr-00291-ABJ Document 84-2 Filed 10/18/21 Page 9 of 9

Attachment

Inmate Sibick, Tomas DCDC 376-982 is assigned as a detail for housing unit C2B at the Correctional
Treatment Facility. Inmate Sibick has a positive attitude about what assignment that is given to him.
Since being housed at the Correctional Treatment Facility Inmate Sibick hasn’t had any negative
institutional and complies with all directives that have been given to him. Inmate Sibick is outstanding

detail Inmate and assist other inmates with any issues that may arise.

Sgt. Shawn Franklin

C Building Supervisor

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